                  Case 3:09-cr-00109-RCJ-VPC             Document 114          Filed 07/21/10    Page 1 of 7

AO 2458 (Rev.09/08)Judgmentin a CriminatCase
                 sheet1

                                                   UNITED STATES DISTRICT CO URT
                                                        DISTRICT O F NEVADA

UNITED STATES OF AM ERICA                                     JUDGMENT IN A CRIMINAL CASE
                   VS.
                                                              CASE NUM BER:03:09-CR-109-ECR-VPC
GERARDO VERGARA-NUNEZ,
                                                              USM NUMBER: 43273-048
THE DEFENDANT:
                                                                M itchellPosin
                                                              DEFENDANT'S ATTORNEY

(X ) pledguiltytocountONE (1)Qflndictmentfiled October28,2009
( ) pled nolocontenderetocountts)                                                 whi chwasaccepted bythecourt.
( ) wasfound guiltyoncountts)                                                     aftera pleaofnotguil
                                                                                                     ty.
The defendantisadjudicatedguiltyoftheseoffensels):
Title & Section                          Nature ofO ffense                     Date Offense Ended           Count

21:846                          Conspiracy to Com m itPossession ofa           Oct,2009                        1
                                 Controlled Substance with Intentto
                                 Distribute


            Thedefendantissentencedasprovidedinpages2through **7 ofthisjudgment.Thesentenceisimposedpursuant
to the Sentencing Reform Actof1984.

            Thedefendanthasbeenfoundnotguiltyoncountls)
            Count 3                                     isdi
                                                           smissed on the motion ofthe Uni
                                                                                         ted States.
            IT IS ORDERED thatthedefendantmustnotifythe United StatesAttorneyforthisdistrictwi
                                                                                             thin30daysofanychange
ofname,residence,ormailing addressuntilalIfines,restitution,costs,and specialassessmentsimposedbythisjudgment
are full
       y paid.lfordered to payrestitution,thedefendantmustnotifythecourtand United Statesattorneyofm aterialchanges
in economic circumstances.

                                                                    '

                                                                          Julv 20,2010
                                                                        Da fImposition of udgm
                                                                                            .           *
A*Each separate page is signed and dated
  by the presiding JudicialOfficer                                      Signature ofJudge

                                                                        EDW ARD C REED,JR.,SENIOR USDJ
                                                                        Name and Title ofJudge
    -.... -. .    qIL!D                  FFl0E1ïE()                                   7 1 7.o lp
                  !jjygqgn               yjy;gj)j;y4
                                                                        Date


   '                  JtlL 2 1 221û

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                    DISTRISTOFrIE'7I!  M
   8Y:'                                    EIEF(J1'Y
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AO 2458 (Rev.09/08)JudgmentinaCriminalCase
       Sheet2 -Im prisonm ent
DEFENDANT: VERGARA-NUNEZZ GERARDO                                                                           Judgment-Page 2
CASE NUMBER: 03:09-CR-109-ECR
                                                        IMPRISONM ENT
        The defendantisherebycom mitted to the custodyofthe United States BureauofPrisons to be im pri
                                                                                                     soned foratotal
term of:      SEVENTY-FIVE (754MONTHS




(X )   The Courlmakesthefollowing recommendati
                                             onstothe BureauofPrisons:THAT defendantreceivecreditfora11time
ser-vedinfederalcustodyin connectionwiththisoffense',THAT aneffod be made thatdefendantbe abl  e tosecure avocati
                                                                                                                on
oroccupation during incarceration so thathe may earn an honestIiving upon his release.
         Inthe eventthi s recommendation cannotbe complied with,the Courtrequests thatthe BureauofPrisons provide a
writtenexplanation to the Court.



       The defendantis rem anded to the custody ofthe United States Marshal.

       The defendantshallsurrenderto the United States Marshalforthisdistri
                                                                          ct:
        ()      at                    a m./p,m.on
        ( ) asnotifiedbytheUnitedStatesMarshal.
       The defendantshallsurrenderforservice ofsentence atthe insti
                                                                  tution designated by the Bureau ofPrisons:
        ()      before 2 p.m.on
        ()      asnotified bythe United StatesMarshal.
        ()      asnotified bythe ProbationofPretrialServicesOfhce.


natedthis Q 1dayofJuly,2010                                                          Jt'.
                                                                                       -    C. u/,
                                                                             EDwARD c.REED,JR.,SEslo USDJ

                                                             RETURN

Ihaveexecutedthisjudgmentasfottows:




        Defendantdelivered on                               to                                             at
                                             ,   withacertifiedcopyofthisjudgment.

                                                                      UNI
                                                                        TED STATESMARSHAL
                                                                      BY:
                                                                             Deputy United StatesMarshat
          Case 3:09-cr-00109-RCJ-VPC                 Document 114          Filed 07/21/10         Page 3 of 7

AO 2458 (Rev09/08)JudgmentinaCriminatCase
         Sheet3 -Supervised Retease
DEFENDANT:      VERGARA-NUNEZ,GERARDO                                                                        Judgment.Page 3
CASE NUMBCR:    03:09-CR-109.ECR
                                                     SUPERVISED RELEASE

        Upon retease from im prisonm ent the defendant shattbe on supewised retease fora term of THREE (3)YSARS
        Thedefendantmustreporttothe probationoffice inthedistrictto whichthedefendantisreteasedwithin 72hoursofretease
from the custodyofthe Bureau ofPrfsons,ifnotdeported.

The defendantshattnotcomm it anotherfederat state ortocatcrime.

The defendant shaLtnot untawfutty possess a controtted substances. Revocation ofsupervision is mandato!
                                                                                                      'y for possession ofittegat
controlted substances. The defendantshattrefrainfrom any unLawfutuse ofa controtted substance. The defendantshattsubmitto one
drug testwithin 15daysofcommencementofsupervision and at teasttwo periodic drug teststhereafter,notto exceed 1O4 drugtests
annuatty. Revocation ism andatory forrefusatto compt y.
        The above drugtesting condftfon isstlspended based on the court'sdeterm inatfon thatthe defendantpcsesa low risk offuttlre
        substance abuse.
(X )    The defendantshattnotpossessafirearm,ammunition destructïve device orany otherdangerousweapon.
(X )    The defendantshattcooperatefn the colLectionofDNA asdirected bythe probation officer.
()      Thedefendantshaltcompt  y withtherequirementsoftheSexCffenderRegistration and Notification Act(42U.S.C.16901,et
        seq.)asdîrected bythe probationofficer,theBureau ofPrisons oranystatesex offenderregistration agencyinwhichhe or
        she resides works,isa student orw asconvicted ofa quaLifying offense.
        The defendant shattparticipate in an approved program fordomestic viotence.

       Ifthisjudgmentimposesafine ora restitution,itisa conditionofsupewised reLease thatthe defendantpay inaccordance
withthe ScheduLe ofPaymentssheetofthisjudgment.
         The defendantm ustcom pty with the standard conditionsthat have been adopted by thiscourtaswettaswith any additionat
conditionson the attached page.
                              SEE ADDITIONAL CONDITIONS OF SUPERVISED RELEASE 0N PAGE 4
                                           STANDARD CONDITIONS OF SUPERVISION

        the defendantshattnotLeave the judiciatdfstrictwithoutthe permissionofthecourtorprobation officer'
        thedefendantshattreporttothe probationofficerandshattsubmitatruthfutandcom ptetewritten reportwithinthefirstfîve
        daysofeach month'
        the defendantshattanswertruthfutLyattinquiriesbythe probationofficerand foltow the instructîonsofthe probation officer;
        the defendantshaLtsuppoa hisorherdependantsand meetotherfamiLy responsibititïes;
        the defendant shattwork reguLarty at a tawfutoccupation unLessexcused by the probation officerforschootfng,traîning,or
        otberacceptablereasons;
        the defendantshattnotify the probation officeratteastten dayspriorto any change in residence oremptoyment;
        the defendant shattrefrain from excessive use ofatcohotand shattnot purchase possess,use,distribute oradministerany
        controtted substance orany paraphernatia retated to any controtted substances except asprescribed by a physician;
8)      the defendantshattnotfrequentptaceswherecontrottedsubstancesareittegatlysotd,used,distributed,oradministered'       ,
9)      the defendantshattnot associate with any persons engaged in criminatactivjty,and shattnot associate with any person
        convicted ofafetony,untessgranted permission to do so by the probatfon officer'
        the defendantshattperm itaprobationofficerto visithim orheratanytime athome oretsew here and shaLtpermitconfiscation
        ofany contraband observed în ptaïn view of the probation officer;
        the defendantshattnotjfy the probation officerwîthin seventy-two hoursofbeîng arrested orquestioned by a taw
        enforcementofficer.
        the defendantshattnotenterfnto any agreementto actasaninformerora speciatagentofa taw enforcementagency without
        the permission of the court;and
        asdirected by the probationofficer,the defendantshatLnotify third partiesofrisksthatmay be occasioned bythe defendant's
        criminatrecordorpersonathistoryorcharacteristics andshattpermittheprobationofficertom ake suchnotificationsand to
        confirm the defendant's com ptiance with such notîfication requirement.


natedthis 1.ldayofJut
                    y,2010                                                               C , ,.?,
                                                                    EDW ARD C.REED,JR.,SENIOR U DJ
         Case 3:09-cr-00109-RCJ-VPC           Document 114       Filed 07/21/10      Page 4 of 7


AO 2458 (Rev.09/08)Judgmentina CriminatCase
        Sheet3 -Supewised Retease
DEFENDANT:    VERGARA-NUNEZ,GEPARDO                                                         Judgm ent-Page 4
CASE NUMBER: 03:09-CR-109-ECR

                                     SPECIAL CONDITIONS OF SUPERVISION


       PossessionofWeapon -Defendantshattnotpossess,haveunderhfscontrot,orhave accessto anyfirearm,exptosive
       device,orotherdangerousweapons,as defined by federat,state ortocattaw.

       W arranttessSearch -To ensure comptiance withattconditionsofretease,the defendantshattsubm itto the search
       ofhisperson,and any property,residence,orautomobite underhiscontrotby the probation offîcer,oranyother
       authorized person undertheimmediateandpersonatsupew isfonofthe probationofficer withoutasearchwarrant,
       ata reasonabte tim e,and în a reasonabte manner. Provîdedlhowever)defendantshattbe required to submitto
       anysuchsearchontyifthe probationofficerhasreasonabte suspicionto betievedefendanthasviotated a condition
       orconditionsofretease.

       Renortto ProbationOfficerAfterRelease from Custodv -Ifnotdeported,defendantshattreport,in person,tothe
       probation office in the Distrïct towhich he isreteased within 72 hoursofdîscharge from custody.

4.     Immiqration Com ntiance - If defendant is deported, he shatt not reenter the United States without EegaL
       authorization. Ifdefendantdoesreenterthe United States,withorwithouttegatauthorizatfon,he shattreportln
       person to the probation office in the districtofreentr'
                                                             y within 72 hours.

5.     DeniatofFederaLBenefitsforDruqPossessors-21U.S.C.862(b). (Choose one)
              the defendantshattbe ineLîgîbte forattfederatbenefitsfora period ofFIVE (5)YEARS.




Datedtiais r %ayofJuky,zolo                                        C,
                                                    EDW ARD C.REED,JR.,SEHIOR USDJ
          Case 3:09-cr-00109-RCJ-VPC                  Document 114      Filed 07/21/10      Page 5 of 7


A02458 (Rev09/08)JudgmentinaCriminatCase
         Sheet5-CriminatMonetary Penatties
DEFENDANT: VERGARA.NUNEZ,GERARDO                                                                     Judgment.Page 5
CASENUMBER;03:09.CR-109-FCR

                                                 CRIMINAL MONETARY PENALTIES

         The defendantmustpay the totatcriminalmonetary penattiesunderthe sclnedule ofpaymentsortSbeet6.

                                 Assessm ent                     Fine                           Restitution

         Totats:                 $100.00
                                 Due and payable im mediatety.

         On m otion by the Government,IT ISORDERED thatthe speciatassessmentimposed by the Courtisremitted.

()       The determ ination ofrestitution isdeferred until                     . An Amended Judgmentina CriminatCase
         (AO 245C)wittbeentered aftersuchdeterminatîon.
         Thedefendantshattmakerestitution(inctudingcommunityrestitution)tothefottowingpayeesintheamounttisted
         betow .

         lfthedefendantmakesa partiatpayment,each payeeshattreceiveanapproximatety proportioned payment,untess
         specified othel
                       -wise in the priority orderorpercentage paymentcotumn betow. However,pursuantto 18 U.S.C.
         j366441),attnonfederatvictimsmustbe paid beforethe UnitedStatesispaid.
Nam e ofPavee                            TotatLoss               Restitution O rdered           Prioritv ofPercentaqe

Cterk,U.S.DistrictCourt
Attn:FinanciatOfficer
Case No.
333 LasVegas Boutevard,south
LasVegas,NV 89101

TOTALS                                       $                   $

Restitutionamountcrdered pursuanttopleaagreement: $
Thedefendantmustpayinterestonrestitutionandafineofmorethan$2,500,untesstherestitutionorfineispaidinfutt
beforethefifteenthdayafterthe date ofjudgment,pursuantto 18 U.S.C.:3612(f).AttofthepaymentoptionsonSheet
6 maybe subjecttopenattiesfordetinquencyand defautt,pursuantto 18 U.S.C.j3612(g).
The courtdeterm ined thatthe defendantdoesnot have the abitity to pay interestand itisordered that:

         theinterestrequirementiswaivedforthe: ( )fine ( )restitution.
         theinterestrequirementforthe: ( )fîne ( )restitution ismodified asfottows:

*Findingsforthe totatamountof tosses are required underChapters 109A,110,110A,and 113A ofTitte 18 foroffenses
committed on orafterSeptember13,1994 butbefore Aprit23,1996,



natedthis2tdayofJut
                  y,2010                                       5 4 C,                   w
                                                           EDWARD C.REED,JR.,SENIOR USDJ
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AO 2458 (Rev09/08)JudgmentinaCriminatCase
          Sheet6 -ScheduteofPayments
DEFENDANT: VERGARA-NUHEZ,GERARDO                                                                    Judgment-Page
CA5E NUMBER: 03:09-CR-109-ECR

                                               SCHEDULE OF PAYMENTS

Having assessed the defendant'sabitity to pay,paymentofthe totatcriminaLmonetary penattiesare due asfottows:

         (X ) Lumpsum paymentof$ 100.00              due immediately,batance due
              ( ) nottaterthan                 ;or
              ( ) inaccordancewith ( )C,( )D,or( )E betow;or
B                Paymentto begin im mediatety (may be combined with (           )D,or( )E betow;or
         (       Paymentin                                      (e.g.,weekLy,monthty,quarterty)instaltmentsof$
                            overaperiod of                    (e.g.monthsoryears),to                    (e.g.,30or
                 60days)afterthedateofthisjudgment;or
D                Paymentin           (e.g.,weekty,monthty,quarterty)instattmentsof$         overa period of
                          (e.g.,monthsoryears),to            (e.g.,30 or60days)afterretease from imprisonment
                 to a term issupew ision;or

E        Paymentdurîngthe term ofsupervised retease wittcommence within                     (e,g.,30 or60days)after
         retease from imprîsonm ent.The courtwittsetthe paym entptanbased onan assessmentofthe defendant'sabitity
         to pay atthat tim e;or

F            )   Speciatinstructionsregarding the payment ofcriminatmonetal
                                                                          -y penatties:


UnLessthecourthasexpressLy orderedotherwise,ifthisjudgmentimposesimprisonment,paymentofcriminatmonetaf'
                                                                                                      y
penattiesisdueduringimprisonment. Attcriminatmonetary penatties,exceptthose paymentsmade through the Federat
Bureau ofPrisons'Inmate FinanciatResponsibitîty Program ,are made to the cterk ofthe court.

The defendantwîttreceive creditforaLLpaymentspreviousty made toward any criminatmonetar'
                                                                                       y penatties im posed.


    )    Jointand Severat
         Defendantand Co-DefendantNamesand Case Numbers(inctudingdefendantnumber),TotatAmount,Jointand
         SeveratAmount,and corresponding payee,ifappropriate.


         The defendantshallpay the cost ofprosecution.

         ThedefendantshaklpaythefoLLowingcourtcostls):
         The defendantshattforfeit the defendant'sinterest in the fottowing property to the United States:


Paymentsshattbeapptiedinthefottowingorder:(1)assessment,(2)restitutionprincipat,(3)restitutioninterest,(4)fine
principat,(5)fineinterest,(6)communityrestitution,(7)penatties,and (8)costs,inctudingcostofprosecutionandcourt
costs.


nated this    2 l dayofJut
                         y,2o10                                      C.        < .
                                                       EDW ARD C.REED,JR.,S NIOR USDJ
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AO 2458 (Rev9/08)-JudgmentinaCriminatCase
Sheet7.DeniatofFederatBenefits
DEFENDANT: VERGARA-NUNEZ,GERARDO                                                                Judgment-Page 7
CASE N0.: 03:09-CR-109.ECR

                                            DENIAL OF FEDERAL BENEFITS
                                (ForOffensesCommittedOnorAfterNovember18,1988)
FOR DRUG TIIAFFICKER PURSUANT TO 21 U.S.C.b 862

       IT ISORDERED thatthe defendantshattbe:

       inetigibte forattfederatbenefitsfora period of
       ineligibte forthe fottowing federatbenefits fora period of                                         (specîfy
       beneffttsl)

                                                      OR
       Having determined that this is the defendant's third or subsequent conviction fordistribution ofcontrotted
       substances,I
                  T IS ORDERED thatthe defendant shattbe permanentty ineLigibte forattfederatbenefits.

FOR DRUG POSSESSORSPURSUANT TO 21U.S.C.:862(b)
       IT ISORDERED thatthe defendantshatt:

(X )   beînetigibteforattfederatbenefitsforaperiod of FIVE (5)YEARS
()     be inetigibte forthe fottowing federatbenefitsfora period of
       (specifybenefittsl)

       successfutty com ptete a drug testîng and treatmentprogram.

()     perform communitysewice,asspecified inthe probationandsupervised reteaseportion ofthisjudgment.
       Having determined that this is the defendant's second or subsequent convîctîon forpossession ofa controtted
       substance,IT ISFURTHER ORDEREDthatthedefendantshaLLcom ptete any drugtreatmentprogram and communîty
       service specifiedinthisjudgmentasarequirementforthe reinstatementofetigibitityforfederalbenefits.
       Pursuantto21U.S.C.9862(d),thisdenialoffederalbenefitsdoesnotincludeanyretirement,welfare,Social
Security,health,disability,veterans benefit,public housing,orothersimilarbenefit,orany other benefitforwhich
paymentsorservicesare required foreligibility. The clerk ofcourtisresponsible forsendinga copy ofthis page and
the firstpage ofthisjudgmentto:
       U.S.DepartmentofJustice,Office ofJustice Programs,W ashington,DC 20531.




nated tl
       ais   Q l dayofJuLy2olo
                            ,                                      e        #
                                                     EDWARD C.REED,JR.,SENIOR USDJ
